     Case 3:22-cv-00012-RGE-WPK Document 129 Filed 08/30/23 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA


 BRADLEY A. ANDERSON,                             )    CIVIL NO. 3:22-CV-00012-RGE-SBJ
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )
                                                  )
 BNSF RAILWAY COMPANY,                            )      JOINT STIPULATED DISMISSAL
                                                  )            WITH PREJUDICE
                Defendant.                        )



       COME NOW, the parties to the above captioned matter, by and through the undersigned

counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), jointly stipulate to

dismissal of all claims and all issues, including the underlying FELA lawsuit and sanctions-related

expenses, against all parties in the above captioned lawsuit, with prejudice, with each of the parties

to bear their own costs, fees, and expenses.



   /s/ Thomas Fuller                                   /s/ Joseph F. Moser__________________
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ATTORNEYS FOR PLAINTIFF                               ATTORNEYS FOR DEFENDANT
       Case 3:22-cv-00012-RGE-WPK Document 129 Filed 08/30/23 Page 2 of 2



                                                 Certificate of Service
The undersigned certifies that the foregoing instrument was served upon the parties to this action, by serving a copy
upon each of the attorneys or individuals listed as receiving notice on August 30, 2023, by CM/ECF.

Attorneys for Plaintiff                                       Attorneys for Defendant

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  /s/ Joseph F. Moser




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